              Case: 22-1391          Document: 44          Page: 1     Filed: 03/01/2023



FORM 32. Response to Notice to Advise of Scheduling Conflicts                                    Form 32
                                                                                               March 2023


                    UNITED STATES COURT OF APPEALS
                       FOR THE FEDERAL CIRCUIT

      RESPONSE TO NOTICE TO ADVISE OF SCHEDULING CONFLICTS

          Case Number: 2022-1391, 2022-1425

  Short Case Caption: Freshub, Inc. v. Amazon.com, Inc., et al.
                                 Amazon.com, Inc.; Prime Now, LLC; Whole Foods Market Services, Inc.;
         Party Name(s):          Amazon.com Services LLC

INFORMATION: The court uses this form to determine whether and when to
schedule cases for oral argument. Arguing counsel may be changed later, but a
motion to reschedule is required once the court schedules argument. Please plan in
advance to adhere to the limit on the number of arguing counsel in Fed. Cir. R. 34(e).

 Argument Waiver               ‫܆‬My party intends to waive oral argument.
 NOTE: Filers checking this box must still complete the below sections. The court
 may still schedule this case for oral argument even if any party intends to
 waive argument. If scheduled, parties may still elect to waive argument using
 the response to notice of oral argument form.
 Other Parties Representing Interests
 ‫ ܆‬Counsel for another party will represent my party’s interests at oral argument
 NOTE: If this box is checked, skip the remaining sections. Any argument date will
 be selected based on conflict dates for counsel arguing on behalf of your party.
 Name of Expected Arguing Counsel J. David Hadden
 Dates Unavailable
 Do you have dates of unavailability within the specific sessions identified by the
 court’s Notice to Advise of Scheduling Conflicts in your case?
 ‫ ܆‬Yes
  ✔
                     ‫ ܆‬No
 If yes, attach a separate sheet listing up to ten dates of unavailability and
 include a statement showing good cause for each date. Dates without good
 cause or that do not pertain to arguing counsel (e.g., client conflicts) will not be
 accepted. The court will only accept dates for one counsel and only if that counsel
 has filed an entry of appearance. The Clerk’s Office will evaluate and note accepted
 or rejected conflict dates; counsel may contact the Clerk’s Office about re-filing if
 dates are rejected. See Fed. Cir. R. 34(d); Practice Notes to Rule 34.
              Case: 22-1391          Document: 44          Page: 2   Filed: 03/01/2023



FORM 32. Response to Notice to Advise of Scheduling Conflicts                              Form 32
                                                                                         March 2023


 Potential Case Conflicts
 Are there other pending cases before this court (regardless of case status) in which
 expected arguing counsel in this case also expects to argue?
 ‫܆‬Yes
  ✔
                  ‫܆‬No
 If yes, attach a separate sheet listing those cases.

I certify the above information and any attached statement is complete and
accurate. I further certify that I will update my notice should new conflicts arise
or existing conflicts change.

        03/01/2023
  Date: _________________                         Signature:     /s/ J. David Hadden

                                                  Name:          J. David Hadden
         Case: 22-1391     Document: 44       Page: 3   Filed: 03/01/2023




                             Nos. 2022-1391, -1425


                United States Court of Appeals
                    for the Federal Circuit

                     FRESHHUB, INC., FRESHUB, LTD.,
                             Plaintiffs-Appellants,

                                       v.
  AMAZON.COM, INC., PRIME NOW, LLC, WHOLE FOODS MARKET
        SERVICES, INC., AMAZON.COM SERVICES LLC,
                         Defendants-Cross-Appellants.


                On Appeal from the United States District Court
                      for the Western District of Texas
                           No. 6:21-cv-00511-ADA
                     Honorable Judge Alan D. Albright


DEFENDANT-CROSS-APPELLANTS’ STATEMENT OF GOOD CAUSE
             FOR SCHEDULING CONFLICTS


J. DAVID HADDEN                             TODD R. GREGORIAN
SAINA S. SHAMILOV                           ERIC B. YOUNG
RAVI RANGANATH                              FENWICK & WEST, LLP
FENWICK & WEST, LLP                         555 CALIFORNIA STREET, 12TH FLOOR
801 CALIFORNIA STREET                       SAN FRANCISCO, CA 94104
MOUNTAIN VIEW, CA 94041                     (415) 875-2300
(650) 988-8500
                                            Counsel for Defendants-Cross-
March 1, 2023                               Appellants




                                       1
           Case: 22-1391     Document: 44      Page: 4   Filed: 03/01/2023




      Counsel for Defendants-Cross-Appellants Amazon.com, Inc., Prime Now,

LLC, Whole Foods Market Services, Inc., and Amazon.com Services LLC

(collectively, “Amazon”) provides this Statement of Good Cause in support of the

Response to Notice to Advise of Scheduling Conflicts. Good cause exists for the

Court not to schedule oral argument for Monday, May 8, 2023, Monday October 2,

2023, or Thursday, October 5, 2023.

      •     May 8, 2023: Counsel will be presenting at the Markman hearing on

            this date in the Investigation No. 337-TA-1343 (“Inv. No. 1343”)

            Certain Video Processing Devices and Components Thereof, pending

            before the International Trade Commission;

      •     October 2, 2023: Counsel will be presenting at the final pretrial

            conference on this date in the Western District of Texas, matter Almond,

            Inc. v. Amazon.com, Inc., No. 6:22-cv-01204-ADA;

      •     October 5, 2023: Counsel will be overseeing the filing of motions for

            summary determination in Inv. No. 1343.

      Counsel also has a potential conflict as he intends to argue the following

matters currently pending before this Court:

      •     In re: PersonalWeb Technologies LLC, United States Court of Appeals

            for the Federal Circuit, Appeal Nos. 2021-1858, -1859, and -1860;




                                         2
          Case: 22-1391    Document: 44    Page: 5   Filed: 03/01/2023




     •     Broadband iTV, Inc. v. Amazon.com, Inc., United States Court of

           Appeals for the Federal Circuit, Appeal No. 2023-1107;

     •     Edwards Lifesciences Corp. v. Meril Life Sciences Pvt. Ltd., United

           States Court of Appeals for the Federal Circuit, Appeal No. 22-1877;

           and

     •     AlterWAN, Inc. v. Amazon.com, Inc., United States Court of Appeals

           for the Federal Circuit, Appeal No. 2022-1349 (fully briefed and argued

           on January 11, 2023).



March 1, 2023                           FENWICK & WEST LLP


                                        By: /s/ J. David Hadden
                                            J. David Hadden

                                        Counsel for Defendants-Cross-Appellants
                                        Amazon.com, Inc., Amazon.com Services
                                        LLC, Whole Foods Market Services, Inc.,
                                        and Prime Now, LLC




                                       3
           Case: 22-1391   Document: 44   Page: 6   Filed: 03/01/2023




                       CERTIFICATE OF SERVICE

      The undersigned certifies that a complete copy of DEFENDANT-CROSS-

APPELLANTS’ STATEMENT OF GOOD CAUSE FOR SCHEDULING

CONFLICTS was served on the attorneys of record via CM/ECF delivery on March

1, 2023.


                                      FENWICK & WEST LLP


                                      By: /s/ J. David Hadden
                                          J. David Hadden

                                      Attorneys for Defendants-Cross-Appellants
                                      Amazon.com, Inc., Amazon.com Services
                                      LLC, Whole Foods Market Services, Inc.,
                                      and Prime Now, LLC




                                     4
